Case: 3:20-cv-00381-TMR-CHG Doc #: 69 Filed: 05/03/22 Page: 1 of 15 PAGEID #: 1183




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT DAYTON

EQUAL EMPLOYMENT                              )
OPPORTUNITY COMMISSION,                       )
                                              )       No. 3:20-cv-00381
                        Plaintiff             )
                                              )       District Judge Thomas M. Rose
v.                                            )       Magistrate Judge Caroline H. Gentry
                                              )
RED ROOF INNS, INC.,                          )
                                              )
                        Defendant.            )
                                              )

                          PLAINTIFF EEOC’S REPLY TO
          DEFENDANT RED ROOF INNS, INC.’S RESPONSE IN OPPOSITION TO
             PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

          Defendant Red Roof Inns, Inc. (“Red Roof”) has failed to muster sufficient evidence to

support an undue hardship defense in its opposition to the EEOC’s Motion for Partial Summary

Judgment (Doc. No. 57). As such, the defense fails as a matter of law, and judgment should be

entered against Defendant on its undue hardship defense.

     I.      Introduction

          Red Roof has not stepped forward with specific facts showing that the purported hardship

of accommodating a blind employee in the Property Connectivity Coordinator (“PCC”) position

would be undue in light of Red Roof’s overall resources. Despite the passage of nearly four years

since Wesley Derby expressed interest in the PCC position, and over a year and a half since this

lawsuit was filed, Red Roof has not produced record of a single “update” to software that has

caused the position to be inaccessible, much less evidence of the barrage of updates it says will

cause unacceptably frequent problems with JAWS accessibility. While Red Roof argues that it

can only speculate as to the costs and consequences of future software updates, and that therein
Case: 3:20-cv-00381-TMR-CHG Doc #: 69 Filed: 05/03/22 Page: 2 of 15 PAGEID #: 1184




lies the operational hardship, it has had ample time to document and verify that such problems

exist, yet it has failed to do so. Moreover, it has not shown how the costs and alleged burden of

addressing software updates compare to its overall resources, as required by 42 U.S.C.

§ 12111(10). Because Red Roof, who bears the burden of showing undue hardship, has not

quantified the undue hardship in any meaningful way, summary judgment is appropriate.

    II.      Summary judgment is not premature.

          Summary judgment is neither premature on an affirmative defense nor inappropriate

because of the factual nature of the defense.

          A. Summary judgment is appropriate on affirmative defenses.

          Red Roof argues that summary judgment is premature because the EEOC has not yet

made out its prima facie case and Red Roof is “not required to prove its affirmative defense at

this stage of litigation.” However, Red Roof gives no support for this argument.

          Summary judgment is not a disfavored procedural shortcut, but rather “an integral part of

the Federal Rules as a whole, which are designed ‘to secure the just, speedy and inexpensive

determination of every action.’” Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986) (quoting

Fed. R. Civ. P. 1). Federal Rule of Civil Procedure 56 must be construed with due regard for “the

rights of persons opposing…defenses to demonstrate…prior to trial, that the …defenses have no

factual basis.” Id. In Celotex, the Supreme Court ruled that the plain language of Rule 56(c)

mandates the entry of summary judgment, after adequate time for discovery and upon motion,

against a party who fails to make a showing sufficient to establish the existence of an element

essential to that party’s case, and on which that party will bear the burden of proof at trial. Id. at

322. As said in the EEOC’s initial brief, the Celotex court further stated that, “[o]ne of the




                                                   2
Case: 3:20-cv-00381-TMR-CHG Doc #: 69 Filed: 05/03/22 Page: 3 of 15 PAGEID #: 1185




principal purposes of the summary judgment rule is to isolate and dispose of factually

unsupported claims or defenses[.]” Id. at 323-24 (emphasis added).

       As the non-movant, Red Roof is not obligated to prove its affirmative defense at this

stage, as it worries, but it must produce enough evidence to persuade a reasonable jury. Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 248-49 (1986) (“[S]ummary judgment will not lie…if the

evidence is such that a reasonable jury could return a verdict for the nonmoving party.”) (“[A]t

the summary judgment stage[,] the judge’s function is not …to weigh the evidence and

determine the truth of the matter but to determine whether there is a genuine issue for trial….

[T]here is no issue for trial unless there is sufficient evidence favoring the nonmoving party for a

jury to return a verdict for that party.”) As discussed further below, it has not produced such

evidence.

       Red Roof does not offer any supporting authority or persuasive argument for the

proposition that summary judgment is less appropriate here than in any other case. That is, it has

no support for the idea that it is premature to enter summary judgment on an ADA undue

hardship defense despite the authority given by Rule 56 to enter summary judgment on defenses.

The only decisions Red Roof cites to in support of this argument fall under Title VII of the Civil

Rights Act of 1964 and deal with employee requests for religious accommodations, and neither

shows that summary judgment would be premature in this case. (Response, Doc. No. 66 at

PageID 1111-12 (citing Tepper v. Potter, 505 F.3d 508 (6th Cir. 2007) and EEOC v. Robert

Bosch Corp., 169 Fed. App’x 942 (6th Cir. 2006)).) While it is true that there are shifting

burdens in an ADA case where a reasonable accommodation is at issue, this does not change the

availability of summary judgment under Rule 56 on the defendant’s affirmative defense.




                                                 3
Case: 3:20-cv-00381-TMR-CHG Doc #: 69 Filed: 05/03/22 Page: 4 of 15 PAGEID #: 1186




       Red Roof also argues that the reasonableness of an accommodation and undue hardship

are factual determinations, inappropriate for summary judgment. In support, Red Roof cites to

EEOC v. Robert Bosch Corp., failing to notice that, not only is this case about religious

accommodations under Title VII, where different standards apply to the respective parties’

burdens than in an ADA accommodation claim, but the selected quote is wholly inapplicable.

(See Response, Doc. No. 66 at PageID 1112.) The Sixth Circuit in the quoted language is

discussing the factual nature of the reasonableness “of an employer’s attempt at

accommodation”—i.e., whether the efforts the employer took to accommodate the employee’s

religious beliefs were reasonable. Here, not only is this not a religious accommodation case, but

this case is not about the reasonableness of Red Roof’s efforts to accommodate Derby in the

PCC position. Thus, the decision provides no support for Red Roof’s arguments.

       In any event, as is well established, summary judgment may be entered on a factual issue

where there are either no material facts in dispute, such that a jury trial is unnecessary, or

insufficient facts upon which a jury may find for the non-movant. See Fed. R. Civ. P. 56;

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-49 (1986); Celotex Corp. v. Catrett, 477 U.S.

317, 327 (1986). As discussed in the EEOC’s initial brief, courts have considered, and entered,

summary judgment on the ADA undue hardship defense. See, e.g., Jankowski v. Dean Foods

Co., 378 F. Supp. 3d 697 (N.D. Ill. 2019) (ruling in plaintiff’s favor on plaintiff’s motion).

Likewise here, summary judgment may be entered for the EEOC.

       B. Summary judgment should not be withheld because Red Roof’s expert has not
          testified under direct examination.

       While summary judgment may be premature where discovery has not yet been

completed, see, e.g., Plott v. Gen. Motors Corp., Packard Elec. Div., 71 F.3d 1190, 1196 (6th

Cir. 1995) (discussing procedure under Rule 56(f) for nonmovant to request deferral on summary

                                                  4
Case: 3:20-cv-00381-TMR-CHG Doc #: 69 Filed: 05/03/22 Page: 5 of 15 PAGEID #: 1187




judgment pending discovery), there is no argument that summary judgment is premature because

a witness has not testified at trial. Red Roof argues summary judgment would be premature

because Mark Tudela, its own expert, has not yet testified under direct examination and “is

entitled to supplement his testimony at trial.” (Response, Doc. No. 66 at PageID 1112.) Red Roof

fails to cite to any authority that summary judgment is inappropriate where an expert witness, or

any witness, has not testified at trial. To the contrary, summary judgment must be supported, or

opposed, as the case may be, by citing to parts of the record, such as “depositions, … affidavits

or declarations.” Fed. R. Civ. P. 56 (c)(1). If the non-moving party alleges facts are unavailable

to it that are essential to support its opposition to the motion, it must show by affidavit or

declaration that the facts are unavailable, for specified reasons. Fed. R. Civ. P. 56 (f).

       In this case, Tudela has already issued a primary expert report for the defendant and

testified in a deposition where Red Roof had the opportunity to examine him, both of which Red

Roof cites to in its opposition. (See, e.g., Response, Doc. No. 66 at PageID 1113-14.) If Tudela

has additional facts or explanations to offer in support of Red Roof’s undue hardship defense,

now was the time to present those. Red Roof does not need to directly examine the witness to

introduce those facts or explanations—it could have introduced them by affidavit or declaration.

Fed. R. Civ. P. 56 (c)(1). Red Roof has offered no affidavit or declaration, in conformance with

section (f) of Rule 56, explaining why any facts held by Tudela that he would offer at trial could

not be presented now, in support of its opposition.

       In response to a motion for summary judgment, the non-moving party must affirmatively

demonstrate with “specific facts” that a genuine issue exists that requires trial in order to defeat

the motion. Anderson, 477 U.S. at 248, 250. Alleging an expert witness might later offer specific

facts at trial is insufficient to oppose summary judgment.



                                                  5
Case: 3:20-cv-00381-TMR-CHG Doc #: 69 Filed: 05/03/22 Page: 6 of 15 PAGEID #: 1188




    III.      Summary judgment is warranted, because Red Roof failed to introduce
              sufficient material facts upon which a jury could find in its favor.

           In its opposition to the EEOC’s motion, Red Roof failed to point to evidence in the

record that is sufficient for a finding of undue hardship in light of the factors set forth in the

ADA at 42 U.S.C. § 12111(10). Because there is insufficient evidence upon which a jury could

find undue hardship as defined by the ADA, summary judgment should be entered on this

defense.

           As explained by the dissenting justices in Celotex (on areas of agreement with the

majority), on an issue where the non-moving party to a summary judgment motion bears the

burden of persuasion at trial, the moving party may demonstrate to the Court that the nonmoving

party’s evidence is insufficient to establish an essential element of the nonmoving party’s claim.

“If the nonmoving party cannot muster sufficient evidence to make out its claim, a trial would be

useless and the moving party is entitled to summary judgment as a matter of law.” Id. at 331

(J. Brennan, dissenting) (citing Anderson, 477 U.S. at 249). The nonmoving party may seek to

defeat the motion by calling the court’s attention to supporting evidence already in the record

that was overlooked or ignored by the moving party, in which event the moving party must

respond by making an attempt to demonstrate the inadequacy of this evidence. Id. at 332.

           Here, Red Roof has not introduced additional facts adequate to defeat the EEOC’s

motion. As stated in the EEOC’s motion, even taking all of Red Roof’s evidence and viewing it

in the light most favorable to it, this evidence is insufficient to support an undue hardship

defense.




                                                   6
Case: 3:20-cv-00381-TMR-CHG Doc #: 69 Filed: 05/03/22 Page: 7 of 15 PAGEID #: 1189




        A. Red Roof did not present specific evidence of the nature and cost of the
           accommodation and the company’s financial resources pursuant to 42 U.S.C.
           § 12111(10).

        The EEOC maintained in its initial brief that Red Roof has not quantified a significant

expense or established a significant difficulty to make the PCC position accessible. Red Roof’s

opposition brief still fails to do so.

        Red Roof asserts that, contrary to the EEOC’s assertion, it is “not required to provide a

dollar amount to make the PCC position accessible to defeat summary judgment.” Yet, it offers

no supporting authority for this argument. (Response, Doc. No. 66 at PageID 1115.) Instead, case

law in the Sixth Circuit and other courts show that Red Roof must present some quantification of

the burden to accommodate Derby, as well as its overall resources, to prevail on its undue

hardship defense. For example, in Smith v. Henderson, the Sixth Circuit found that summary

judgment in favor of the employer, USPS, was inappropriate because, among other reasons, the

employer had not presented evidence regarding factors relevant to the undue hardship defense,

such as the overall financial resources of the USPS post office at issue, the overall financial

resources of the USPS as a whole, and the impact of the accommodation on the post office’s

ability to conduct business. 376 F.3d 529, 537 (6th Cir. 2004).

        In Reyazuddin v. Montgomery Cty., the Fourth Circuit reversed summary judgment for

the employer on an undue hardship defense, where the employer alleged it would experience an

undue hardship to make computer software accessible for a blind employee who uses screen

reader technology. 789 F.3d 407 (4th Cir. 2015). Unlike here, the employer there did produce

evidence of the costs to initially make the software accessible, on which basis the district court

granted the employer summary judgment. However, even evidence of those costs was not

enough for the “multi-factor analysis” required by 42 U.S.C. § 12111(10), the Fourth Circuit



                                                 7
Case: 3:20-cv-00381-TMR-CHG Doc #: 69 Filed: 05/03/22 Page: 8 of 15 PAGEID #: 1190




found. The district court should have considered the estimated cost in comparison to the

employer’s overall resources, along with other statutory factors, such as the number of

employees, cost savings the employer realized in changing to a new call center, and the

employer’s existing personnel resources for IT work. Id. at 417-18.

       In Jankowski v. Dean Foods Co., as discussed in the EEOC’s initial brief, the district

court granted the plaintiff summary judgment on the employer’s undue hardship defense, where

the employer failed to identify evidence quantifying the financial burden that would accompany

accommodating the plaintiff, as necessary to evaluate the factors in 42 U.S.C. § 12111(10)(B).

378 F. Supp. at 712-13.

       Red Roof further insists that it should not be required to give a “dollar amount,” because

any such amount would just be speculative, in light of the unknown future updates to the Online

Travel Agency (“OTA”) extranet websites’ software. However, this ignores the ample time,

opportunity, and ability Red Roof has had to assess the four OTA extranet websites’

compatibility with JAWS and document the allegedly frequent updates and their impact on the

use of JAWS. Red Roof alone has access to the credentialed entry to the OTA extranet websites,

and Red Roof uses those credentials to perform PCC work as a part of its partnership with the

OTAs. (Motion Exh. 8, Eichelberger Dep. at 55:24-56:15, Doc. No. 57-8 at PageID 695.) Red

Roof also regularly employs the services of a JAWS scripter, Mark Tudela. (Motion Exh. 2,

Wright Dep. at 94:23-25, Doc. No. 57-2 at PageID 642; Motion Exh. 6, Gillis Dep. at 63:1-65:2,

Doc. No. 57-6 at PageID 682.) Yet, in the four years since Red Roof informed Derby he could

not be accommodated in the position, it has not documented a single example of a software

update, recorded the frequency with which these updates have occurred, or developed any

evidence that the updates required new scripts to work with JAWS. Red Roof’s scripter and



                                                8
Case: 3:20-cv-00381-TMR-CHG Doc #: 69 Filed: 05/03/22 Page: 9 of 15 PAGEID #: 1191




expert witness in this case, Tudela, was never asked to perform an assessment of the PCC

websites at any time during the last four years. (Motion Exh. 5, Tudela Dep. 90:1-91:11, 104:19-

21, Doc. No. 57-5 at PageID 667-68.) Red Roof has also failed to document any alleged problem

using JAWS with the OTA extranet websites during the pendency of this litigation, despite

EEOC’s requests through interrogatories for specific information about any assessment Red

Roof performed of JAWS compatibility and any problems with JAWS’ integration with the

third-party websites. (Reply Exh. 1 at 9-10.)

        If Red Roof had performed an assessment of JAWS’ compatibility with the four OTA

extranet websites over a select period of time, and documented any initial need for scripting

and/or any updates that required new scripting, it could have arrived at an estimate of the costs to

perform this scripting work on a continual basis. But Red Roof also failed to make a basic

attempt at estimating a cost based on the information it does have. Red Roof points in its

opposition to the number of hours that Tudela spent scripting other Red Roof programs and the

number of hours the EEOC expert states he would need to assess the PCC position’s programs.

(Response, Doc. No. 66 at PageID 1116.) But it did not perform simple arithmetic with these

numbers to show the expected costs, or to compare this cost to its resources, expecting the reader

to just assume a resultant burden.

        Importantly, Red Roof offers no proof that the position would frequently have problems

with JAWS accessibility, requiring “rescripting.” Instead, it repeatedly makes the unsupported

leap between Shanna Wright testifying that the four OTA extranet websites experience weekly

changes 1 to their sites and the assumption that a JAWS user’s ability to access those sites will


1
 Red Roof misleadingly states that Wright testified that extranet websites install updates on a weekly and
sometimes daily basis. (Response, Doc. No. 66 at PageID 1113, 1114, 1116.) Instead Wright testified, “[T]hose
extranets in particular change very frequently, weekly, sometimes, maybe even more often on occasion.” (Response
Exh. A, Wright Dep. at 113:4-7, Doc. No. 66-1 at PageID 1123.)

                                                       9
Case: 3:20-cv-00381-TMR-CHG Doc #: 69 Filed: 05/03/22 Page: 10 of 15 PAGEID #: 1192




 also change on a weekly basis. (See Response, Doc. No. 66 at PageID 1114.) Yet no witness or

 other evidence establishes that the allegedly frequent changes to the website will cause frequent

 problems using JAWS. Again, as stated in the EEOC’s brief, Tudela only says JAWS scripting

 “may” no longer be compatible with updated software. (Motion Exh. 3, Tudela Report ⁋ 7, Doc.

 No. 57-3.) Or, he testified, there may be no incompatibility problem. (Motion Exh. 5, Tudela

 Dep. 125:24-126:8, Doc. No. 57-5 at PageID 672-73.) As such, Red Roof misleadingly and

 incorrectly states that, when a third-party website updates its software, the JAWS scripting

 previously installed for that particular website “will be affected.” (Response, Doc. No. 66 at

 PageID 1113.) 2 This lack of evidence alone warrants summary judgment on the undue hardship

 defense.

          Nonetheless, assuming Red Roof could prove that it would frequently need to “re-script”

 JAWS to enable Derby to perform the essential functions of the PCC position, which the EEOC

 contends it cannot, Red Roof should not be permitted to rest on the assumption that this scripting

 would create significant downtime for a JAWS user. Shanna Wright testified that the reason she

 believed a JAWS user could not hold the PCC position was because of the changes she saw to

 extranet websites, which she “assum[ed]” would require more scripting, and which she

 “envision[ed]” would create a lot of down time, as Red Roof would have to reach out to Tudela,

 “who was not always available.” (Response Exh. A, Wright Dep. 113:4-114:8, Doc. No. 66-1 at

 PageID 1123-24.) The fact that Tudela was “not dedicated to [Red Roof]” and “had a lot of other

 things,” meant there were times related to other JAWS-using employees where Red Roof had to




 2
   Red Roof also incorrectly states that “Plaintiff’s expert…agree[s] that third party websites install updates to their
 websites without notice to Red Roof” (Response, Doc No. 66 at PageID 1114), when the cited evidence—missing
 from Red Roof’s exhibit—says otherwise. EEOC’s expert, Daniel Buchness, testified he disagrees with that
 statement with regard to extranet partner websites. (Reply Ex. 2; Buchness Dep. at 73:8-25.)

                                                            10
Case: 3:20-cv-00381-TMR-CHG Doc #: 69 Filed: 05/03/22 Page: 11 of 15 PAGEID #: 1193




 “wait for Mark’s availability to free up.” (Id. at 113:13-17, PageID 1123.) In other words, Wright

 assumed Derby could not be accommodated in the PCC position because Tudela would be busy

 with other clients.

        However, Tudela’s unavailability is not a lawful reason to deny an accommodation or

 sufficient evidence of an undue hardship. An employer has an obligation under the ADA to

 determine an appropriate accommodation and to consider alternative accommodations that do

 not cause an undue hardship. See 29 C.F.R. § 1630.2(o)(1)-(3); 20 C.F.R. Appx. § 1630.9;

 Hostettler v. Coll. of Wooster, 895 F.3d 844, 857 (6th Cir. 2018) (employer has a duty to engage

 in an interactive process to identify potential reasonable accommodations that would overcome

 an employee’s limitations). Red Roof has failed to account for resources available to address the

 alleged scripter availability problem and alleviate downtime. For example, Red Roof has not

 provided a cost for putting Tudela on contract to be more readily available, hiring a JAWS

 scripter on its staff, or training a current IT employee on JAWS scripting, so that an in-house

 scripter could be ready to address JAWS scripting problems, should they arise, the way Red

 Roof’s IT staff handles other technical problems that employees encounter. (Reply Exh. 3,

 Eichelberger Dep. 36:3-37:18.) See, e.g., Nelson v. Thornburgh, 567 F. Supp. 369, 376 (E.D. Pa.

 1983), aff'd, 732 F.2d 146 (3d Cir. 1984), and aff'd sub nom. Appeal of Thornburgh, 732 F.2d

 147 (3d Cir. 1984) (discussing possible combinations of accommodations, including an on-staff

 reader, for a blind employee and the relative costs of each); Reyazuddin, 789 F.3d at 417

 (discussing technical resources available for accommodating blind call center employee).

        Finally, in addition to assembling cost estimates as discussed above, Red Roof should

 have given a “dollar amount” for its financial resources, to which the ADA requires the

 accommodation costs be compared. 42 U.S.C. § 12111(10). Costs of an accommodation can only



                                                 11
Case: 3:20-cv-00381-TMR-CHG Doc #: 69 Filed: 05/03/22 Page: 12 of 15 PAGEID #: 1194




 be considered “undue” if sufficiently compared to the resources of the facility, the overall

 resources of Red Roof as a whole, and the benefit to the company. 42 U.S.C. § 12111(10)(B).

 See, e.g., Reyazuddin, 789 F.3d 407, 417-18 (4th Cir. 2015); Smith, 376 F.3d 529, 537 (6th Cir.

 2004). As the EEOC noted in its initial brief, Red Roof has indicated its revenue reached $657

 million in the first nine months of 2021. (Motion, Doc. No. 57 at PageID 600.) Red Roof has

 done nothing in its opposition to dispute this evidence or explain why, in light of the company’s

 revenue, it cannot afford options to address alleged problems with JAWS scripting as they arise.

 Further, the relative cost of an accommodation must also be assessed in consideration of the

 other factors in the statute. Red Roof has a number of blind and visually impaired employees

 who use JAWS and require periodic technical assistance with JAWS. (Motion Exh. 6, Gillis Dep.

 at 61:8-13, 63:1-65:2, Doc. No. 57-6 at PageID 681-82; Motion Exh. 5, Tudela at 71:1-75:1,

 Doc. No. 57-5 at PageID 663-64.) The cost of, for example, having an in-house JAWS scripter

 must be considered in light of the benefit to Red Roof’s other visually impaired employees, the

 operation of the company as a whole, and the company’s finances, as it would no longer need to

 contract out for Tudela’s scripting services.

        The ADA requires an employer to provide evidence to support its defense that failure to

 accommodate a disabled employee is due to undue hardship. Red Roof’s argument that it cannot

 possibly know the costs is unavailing, and its failure to offer any cost associated with

 accommodating a blind JAWS user in the PCC position, or a comparison with its financial

 resources, is grounds for summary judgment against the company on its defense.

        B. Red Roof did not present sufficient evidence of a significant difficulty in
           accommodating Derby pursuant to 42 U.S.C. § 12111(10).

        Red Roof may be arguing that a “dollar amount” is unnecessary, because any alleged

 undue hardship is an operational one, rather than a financial one, where a JAWS user such as

                                                  12
Case: 3:20-cv-00381-TMR-CHG Doc #: 69 Filed: 05/03/22 Page: 13 of 15 PAGEID #: 1195




 Derby will not be able to perform the essential functions of the job because of the alleged

 frequent updates to the OTA extranet websites. (Response, Doc. No. 66 at PageID 1113-14.)

 However, there are two problems with this assertion. First, Red Roof’s evidence fails to establish

 this anticipated problem. Second, Red Roof still must quantify the operational hardship in some

 meaningful way for a jury to properly consider it in light of the statutory factors in 42 U.S.C.

 § 12111(10). See, e.g., Jankowski, 378 F. Supp. 3d 697 (where defendant alleged

 accommodating plaintiff’s disability would have affected efficiency of operations but failed to

 quantify the burden as required by statute).

        As to the first problem, Red Roof fails to offer sufficient evidence for a jury to find that

 updates to the OTA software will cause a JAWS user to be unable to perform the essential

 functions of the job. Red Roof makes several, unsubstantiated leaps to reach that conclusion. It

 offers the following facts: testimony of Shanna Wright that there are frequent updates to the

 websites; Tudela’s report and testimony that software updates may cause problems with JAWS

 scripting; and Tudela’s report that re-scripting for JAWS may cause “downtime.” (Response

 Exh. A, Wright Dep. at 113, Doc. No. 66-1 at PageID 1123; Response Exh. B, Tudela Dep. at

 130-31, Doc. No. 66-2 at PageID 1133; Response Exh. B, Tudela Report ⁋ 7, 10, Doc. No. 66-2

 at PageID 1136.) From there, Red Roof leaps to the conclusions that “[w]hen a third-party

 website updates its software, the JAWS scripting previously installed for that particular website

 will be affected,” and that “a JAWS user’s access to those websites…is changing on a weekly

 basis.” (Response, Doc. No. 66 at PageID 1113, 1114. Emphasis added.)

        Yet, there is no evidence bridging 1) the gap between the frequency of updates to the

 software and the frequency of problems, if any, with JAWS scripting, or 2) the gap between the

 frequency of problems, if any, with JAWS scripting, and any resultant downtime for a JAWS



                                                  13
Case: 3:20-cv-00381-TMR-CHG Doc #: 69 Filed: 05/03/22 Page: 14 of 15 PAGEID #: 1196




 user. As discussed in the EEOC’s initial brief, the record shows that Red Roof’s expert, Mark

 Tudela, acknowledged a website update could be innocuous or previous JAWS scripting could

 survive the change. (Motion Exh. 5, Tudela Dep. at 125:24-126:8, Doc. No. 57-5 at PageID 672-

 73.) Even with a problem, a more highly skilled JAWS user could find another way to navigate

 the site, or JAWS may be used “manually” to navigate a site without scripting. (Id. at 134:24-

 135:22, PageID 674.)

        If Red Roof had evidence to bridge these gaps it should have presented it. Again,

 although Red Roof insists it cannot produce evidence of “future” updates, it could have taken

 steps in the last four years to document software updates to the OTA extranet websites and the

 effect, if any, on JAWS, but it failed to do so. Without a smidgeon of concrete evidence, and

 only speculation of the possibilities of broken scripts and downtime, there is just not enough

 evidence for a jury to evaluate Red Roof’s allegation of operational hardship.

        As to the second problem, this alleged operational hardship must still be considered in

 light of the factors in 42 U.S.C. § 12111(10). That is, even if Red Roof had produced sufficient

 evidence to establish frequent problems with using JAWS with the OTA extranet websites, it has

 not demonstrated that it cannot afford, financially or operationally, to address those problems as

 they arise. It has not introduced any evidence that, for example, having a scripter onsite (through

 hiring an on-staff scripter or training IT staff to perform JAWS scripting) to address the allegedly

 frequent “rescripting” needs would be an unmanageable option. Nor has Red Roof produced

 evidence quantifying, in any way, the effect of downtime on the operation of the Online

 Connectivity Team or the company as a whole. See, e.g., Smith v. Henderson, 376 F.3d at 537

 (defendant failed to present evidence of the impact of the accommodation on the facility’s ability

 to conduct business); Jankowski, 378 F.Supp. 3d at 712-13 (defendant failed to quantify the



                                                 14
Case: 3:20-cv-00381-TMR-CHG Doc #: 69 Filed: 05/03/22 Page: 15 of 15 PAGEID #: 1197




 financial burden of an alleged lack of productivity from accommodating plaintiff). Instead, it

 suggests it can meet its burden by simply asking the jury to assume the amount of downtime

 Derby would have experienced and assume the effect on Red Roof’s operations.

          Without actual evidence of the website software updates Wright testified to, and how

 those affect JAWS, a jury cannot assess the undue hardship argument in light of the factors it

 must consider in 42 U.S.C. § 12111(10). As such, Red Roof has failed to present a triable issue

 on its undue hardship defense, and partial summary judgment is appropriate in the EEOC’s

 favor.

    IV.      Conclusion

          Red Roof has raised several arguments as to why accommodating Derby with JAWS in

 the PCC position would be an undue hardship. But Red Roof presents no legal authority to

 support its arguments and insufficient facts upon which a jury could evaluate the factors in 42

 U.S.C. § 12111(10). Because Red Roof has failed to proffer sufficient evidence to support this

 defense, the defense fails as a matter of law. The EEOC respectfully requests the Court grant

 judgment in its favor on Red Roof’s affirmative defense of undue hardship.


                                              Respectfully submitted,

                                              s/ Alysia Robben
                                              Alysia Robben, Trial Attorney
                                              Aimee McFerren, Senior Trial Attorney
                                              U.S. EQUAL EMPLOYMENT OPPORTUNITY
                                              COMMISSION
                                              Louisville Area Office
                                              600 Dr. Martin Luther King Jr. Place
                                              Suite 268
                                              Louisville, Kentucky 40202
                                              (502) 694-3976 (direct)
                                              (502) 582-5435 (fax)
                                              alysia.robben@eeoc.gov
                                              aimee.mcferren@eeoc.gov

                                                 15
